               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:15-cr-00085-MR-DLH-12



UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
              vs.               )                    ORDER
                                )
TAMMIE LYNN PAYNE,              )
                                )
                   Defendant.   )
_______________________________ )


        THIS MATTER is before the Court on the Defendant’s Motion to

Suppress and Franks Request [Doc. 158]; the Magistrate Judge’s

Memorandum and Recommendation regarding that motion [Doc. 402]; and

the Defendant’s Objections to the Magistrate Court’s Recommendation [Doc.

438].

        On February 24, 2016, the Honorable Dennis L. Howell, United States

Magistrate Judge, conducted an evidentiary hearing on the motion to

suppress. On August 9, 2016, the Magistrate Judge issued a Memorandum

and Recommendation, recommending that the motion to suppress be

denied.     [Doc. 402].    The Defendant timely filed Objections to the

Memorandum and Recommendation on August 26, 2016. [Doc. 438].


   Case 1:15-cr-00085-MR-WCM     Document 458   Filed 09/19/16   Page 1 of 2
     Upon conducting a de novo review of the Memorandum and

Recommendation, the Court finds that the Magistrate Judge’s proposed

findings of fact are correct and that the proposed conclusions of law are

consistent with current case law. Accordingly, the Court hereby accepts the

Magistrate Judge's recommendation that the Defendant’s Motion to

Suppress and Request for a Franks hearing be denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s Objections to the

Magistrate Court’s Recommendation [Doc. 438] are OVERRULED; the

Magistrate Judge’s Memorandum and Recommendation [Doc. 402] is

ACCEPTED; and the Defendant’s Motion to Suppress and Franks Request

[Doc. 158] is DENIED.

     IT IS SO ORDERED.
                               Signed: September 19, 2016




                                      2



   Case 1:15-cr-00085-MR-WCM   Document 458         Filed 09/19/16   Page 2 of 2
